              Case 8:19-bk-07508-CPM         Doc 30    Filed 01/06/20    Page 1 of 3



                                        ORDERED.


      Dated: January 03, 2020




                             UNITED STATES BANKRUPTCY COURT
                                MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION

 In re:                                             Case No. 8:19‐bk‐07508‐CPM

                                                    Chapter 7

 Tzirel Bleier




                  Debtor s      /




 ORDER AUTHORIZING THE CHAPTER 7 TRUSTEE TO RETAIN BK GLOBAL REAL
 ESTATE SERVICES AND AGNELLI NEW YORK REAL ESTATE, LLC TO PROCURE
     CONSENTED PUBLIC SALE PURSUANT TO 11 U.S.C. §327, 328 AND 330

          Upon the Notice and Application of Traci Stevenson, the trustee in the above-captioned case

(“Trustee”), to Retain BK Global Real Estate Services and AGNELLI NEW YORK REAL ESTATE,

LLC to Procure Consented Public Sale pursuant to 11 U.S.C. § 327, 328 and 330 (“Application”)

[Docket No. 29], the Court having reviewed and considered the Notice, Application and the Affidavit

of Disinterestedness and having found good and sufficient cause appearing therefore and the same to

be in the best interest of Debtor and the creditors the Court hereby FINDS that:


                                                   8
            Case 8:19-bk-07508-CPM          Doc 30     Filed 01/06/20     Page 2 of 3



            A. The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 157(b)(2).

            B. Venue of this Chapter 7 case and the Application is proper pursuant to 28 U.S.C. §§

       1408 and 1409.

            C. Notice of the Application was sufficient under the circumstances.

               Based upon the foregoing findings of fact, it is hereby

               ORDERED, ADJUDGED, AND DECREED that:

       1.      The Application is hereby GRANTED.

       2.      Defined terms not otherwise defined herein have the meanings given to them in the

Application and the Affidavit.

       3.      The Trustee is authorized to retain and compensate BKRES and Listing Agent to

procure Secured Creditor’s Consent, and otherwise market and sell the Property, in Debtors’ Chapter

7 case pursuant to Sections 327, 328(a) and 330 of the Bankruptcy Code, and Bankruptcy Rules

2014 and 2016, in accordance with the terms and conditions set forth in the BKRES Agreement, the

Listing Agreement and this Order. BKRES and Listing Agent shall not split or otherwise share their

fees with any other person or entity.

       4.      BKRES and Listing Agent are disinterested persons within the meaning of

Bankruptcy Code Section 101(14).

       5.      BKRES and Listing Agent shall be compensated in accordance with the BKRES

Agreement and Listing Agreement, respectively, and such compensation shall not hereafter be

subject to challenge except under the standard of review set forth in Section 330 of the Bankruptcy

Code. Compensation will be determined later in accordance with 11 U.S.C. § 330.

       6.      BKRES and Listing Agent shall be authorized to receive and retain their fees from

Secured Creditor at the successful closing of the sale of the Property without necessity of further

                                                   9
            Case 8:19-bk-07508-CPM             Doc 30   Filed 01/06/20    Page 3 of 3



order of the Court. The estate shall, in no circumstance, be obligated to compensate BKRES or

Listing Agent in such event and BKRES and Listing Agent shall not have a claim against the estate

for any unpaid amounts. BKRES and Listing Agent, and anyone claiming by, through or under

either of them, shall only have recourse for recovering its fee to Secured Creditor. The estate shall

have no liability for any such claim.

       7.      Notice of the Application was adequate and proper.

       8.      This Court shall retain jurisdiction to hear and determine all matters arising from or

related to the implementation of this Order.

                                                  ###

Submitted By:
Traci K. Stevenson
Chapter 7 Trustee
P.O. Box 86690
Madeira Beach, FL 33738
Phone: (727) 397-4838




Traci K. Stevenson is directed to serve a copy of this order on interested parties who do not
receive service by CM/ECF and to file a proof of service within 3 days of entry of the order.




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